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 1   POMERANTZ LLP
     Jennifer Pafiti (SBN 282790)
 2   1100 Glendon Avenue, 15th Floor
 3   Los Angeles, California 90024
     Telephone: (310) 405-7190
 4   jpafiti@pomlaw.com
 5   Attorney for Plaintiff
 6
     [Additional Counsel on Signature Page]
 7
 8                                   UNITED STATES DISTRICT COURT
 9                                 NORTHERN DISTRICT OF CALIFORNIA

10
      SHLOMO KLEIN, Individually and on Behalf of            Case No. 5:21-cv-04220-LHK
11    All Others Similarly Situated,
12
                                    Plaintiff,
13
                              v.
14
15    PINTEREST, INC., BENJAMIN SILBERMANN,
      and TODD MORGENFELD,
16
                                    Defendants.
17
18
19                                 NOTICE OF VOLUNTARY DISMISSAL
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27
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                                          Notice of Voluntary Dismissal
               Case 5:21-cv-04220-LHK Document 10 Filed 07/08/21 Page 2 of 2



 1   TO:    ALL PARTIES AND THEIR COUNSEL OF RECORD
 2          WHEREAS, no defendant in the above-captioned action Klein v. Pinterest, Inc. et al., No. 5:21-
 3
     cv-04220-LHK, brought before the United States District Court for the Northern District of California,
 4
     has served an answer or motion for summary judgment;
 5
 6          NOTICE IS HEREBY GIVEN that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A),

 7   plaintiff Shlomo Klein hereby voluntarily dismisses the above-captioned action, without prejudice, as to
 8   all defendants.
 9
     Dated: July 8, 2021                                 Respectfully submitted,
10
                                                         POMERANTZ LLP
11
12                                                       /s/ Jennifer Pafiti
                                                         Jennifer Pafiti (SBN 282790)
13                                                       1100 Glendon Avenue, 15th Floor
                                                         Los Angeles, California 90024
14                                                       Telephone: (310) 405-7190
15                                                       jpafiti@pomlaw.com

16                                                       POMERANTZ LLP
                                                         Jeremy A. Lieberman
17                                                       J. Alexander Hood II
                                                         600 Third Avenue, 20th Floor
18
                                                         New York, New York 10016
19                                                       Telephone: (212) 661-1100
                                                         Facsimile: (212) 661-8665
20                                                       jalieberman@pomlaw.com
                                                         ahood@pomlaw.com
21
22                                                       Attorneys for Plaintiff

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24
25
26
27
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                                         Notice of Voluntary Dismissal
